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                           IN THE UNITED STATES DISTRICT
                         COURT FOR THE SOUTHERN DISTRICT
                              OF OHIO EASTERN DIVISION

  M.A., an individual,                              )
                                                    )
         Plaintiff,                                 )   CIVIL ACTION NO: 2:19-cv-00849
                                                    )
  v.                                                )   Judge Algenon L. Marbley
                                                    )
                                                    )   Magistrate Judge Elizabeth Preston
  WYNDHAM HOTELS & RESORTS, INC.,                   )   Deavers
  et al.,                                           )
                                                    )
         Defendants.                                )


         PLAINTIFF’S RESPONSE AND MEMORANDUM OF LAW OPPOSING ERIE
               INSURANCE EXCHANGE’S MOTION TO INTERVENE

        COMES NOW the Plaintiff, M.A., by and through the undersigned counsel, and

 respectfully requests that this Honorable Court enter an order denying the motion to intervene

 filed by Erie Insurance Exchange (“Erie”) (ECF No. 168). The reasons supporting the Plaintiff’s

 opposition are set forth in the attached memorandum of law.

                                             Respectfully submitted,

                                             /s/ Steven C. Babin, Jr.
                                             Steven C. Babin, Jr.
                                             (0093584) Babin Law, LLC
                                             1320 Dublin Road, #100
                                             Columbus, Ohio 43215
                                             T: 614.384.7035
                                             E: steven.babin@babinlaws.com




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                    PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                            ERIE’ S MOTION TO INTERVENE

         COMES NOW the Plaintiff, M.A. (the “Plaintiff” or “M.A.”), by and through the

 undersigned counsel, and respectfully submits this Response and Memorandum of Law in

 opposition to the Motion to Intervene filed by Erie (“Erie” or “Movant”). In support of her

 opposition to the Motion to Intervene, the Plaintiff provides the following law and argument.

                                             INTRODUCTION

         Erie, a nonparty, seeks to intervene in this action pursuant to Rule 24 of the Federal Rules

 of Civil Procedure to litigate a dispute with its insured Defendant Buckeye Hospitality, Inc. a/k/a

 the Comfort Inn North Conference Center (“Buckeye Hospitality”). 1 Simply put, Erie’s dispute

 with Defendant Buckeye Hospitality has no place in this lawsuit. Indeed, this Court has already

 addressed this exact same issue in this case when other insurers, by American Family Mutual

 Insurance Company and Nationwide Property & Casualty Insurance Company and Nationwide

 Mutual Fire Insurance Company, sought to intervene. (ECF No. 171.) In its Order denying

 those motions, the Court observed that “various courts have routinely denied intervention on

 grounds that insurers contesting coverage have no more than a contingent interest in the

 underlying action.” Id. at 4 (citing J4 Promotions, Inc. v. Splash Dogs, LLC, No. 2:09-CV-136,

 2010 WL 1839036, at *3 (S.D. Ohio May 3, 2010); Travelers Indem. Co. v. Dingwell, 884 F.2d

 629, 638 (1st Cir. 1989); Nautilus Ins. Co. ex rel. Ecklebarger v. C.C. Rider, Inc., 2002

 WL 32073073 (N.D. Ind. Nov. 25, 2002); Nieto v. Kapoor, 61 F. Supp. 2d 1177 (D.N.M. August

 4, 1999); Sachs v. Reef Aquaria Design, Inc., 2007 WL 2973841 (N.D. Ill. Oct.5, 2007))

 (internal quotations omitted). The same law applies here. Therefore, the Court should deny

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           Erie seeks to intervene in this lawsuit for the purpose of seeking a declaratory judgment regarding its
 obligations, if any, to defend and/or indemnify of Defendants Buckeye Hospitality, Inc. and Choice Hotels
 International, Inc. in relations to M.A.’s claim against them. ECF No. 168 at 2.



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 Erie’s motion.

        I.         FACTUAL BACKGROUND

        The Plaintiff brings claims against the Defendants, a group of hotels and hotel brands,

 under Trafficking Victim Protection Reauthorization Act (the “TVPRA”), 18 U.S.C. § 1591 et

 seq. See ECF No. 1, Compl. at ¶¶ 3, 107. From approximately the Spring of 2014 to August

 2015, she was repeatedly coerced through fear, threat, and violence into commercial sex acts at

 each of the Defendants’ hotel properties. Id. at ¶¶ 3, 49-59. The Plaintiff contends that the

 Defendants knew or should have known she was trafficked on their properties and that the

 Defendants profited from the sex trafficking she suffered. See, e.g., Id. at ¶ 107.

        II.        STANDARD OF REVIEW

        Rule 24 governs intervention of nonparties. See Fed. R. Civ. P. 24. Rule 24 provides in

 pertinent part:


          (a)     Intervention of Right. On timely motion, the court must permit anyone
          to intervene who:
                  (1)    is given an unconditional right to intervene by a federal statute; or
                  (2)    claims an interest relating to the property or transaction that is
                         the subject of the action and is so situated that disposing of the
                         action may as a practical matter impair or impede the movant’s
                         ability to protect its interest, unless existing parties adequately
                         represent that interest.

          (b)      Permissive Intervention.
                   (1)   In General. On timely motion, the court may permit anyone to
                         intervene who:

                          (A)     is given a conditional right to intervene by a federal
                                  statute; or
                          (B)     has a claim or defense that shares with the main action a
                                  common question of law or fact.
                   …

                   (3) Delay or Prejudice. In exercising its discretion, the court must consider
                   whether the intervention will unduly delay or prejudice the adjudication of the



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                 original parties’ rights.

 Fed. R. Civ. P. 24.

        The Sixth Circuit has set out four (4) elements which the potential intervenor must meet

 in order for intervention as of right to be appropriate:

        This Court has interpreted the language of the Rule to require an applicant to
        show that: 1) the application was timely filed; 2) the applicant possesses a
        substantial legal interest in the case; 3) the applicant’s ability to protect its
        interest will be impaired without intervention; and 4) the existing parties will
        not adequately represent the applicant’s interest. Grutter v. Bollinger, 188 F.3d
        394, 397-98 (6th Cir. 1999).

 Blount-Hill v. Zelman, 636 F.3d 278, 283 (6th Cir. 2011). “Each of these elements is mandatory,

 and therefore failure to satisfy any one of the elements will defeat intervention under the Rule.”

 Id. (citing United States v. Michigan, 424 F.3d 438, 443 (6th Cir. 2005)).

        With regard to permissive intervention pursuant to Fed. R. Civ. P. 24(b), “[t]hough the

 district court operates within a ‘zone of discretion’ when deciding whether to allow intervention

 under Rule 24(b), the district court nevertheless ‘must, except where the basis for the decision is

 obvious in light of the record, provide enough of an explanation for its decision to enable [us] to

 conduct meaningful review.’” League of Women Voters of Mich. v. Johnson, 902 F.3d 572, 577

 (6th Cir. 2018) (citing Kirsch v. Dean, 733 F. App’x 268, 279 (6th Cir. 2018) (quoting, in turn,

 Mich. State AFL-CIO v. Miller, 103 F.3d 1240, 1248 (6th Cir. 1997))).

        III.    ARGUMENT

        Erie fails to meet its burden for intervention. First, Erie’s motion is untimely. Second,

 Erie does not have a substantial legal interest in the civil case that will be impaired absent

 intervention, or an interest that will be inadequately represented by parties already before the

 Court. Further, the Court should not allow Erie to intervene because it would cause undue

 delay in this matter and would prejudice the Plaintiff.



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                   A.     Erie Does Not Have Grounds To Intervene As Of Right.

             Intervention as of right under Fed. R. Civ. P. 24(a)(2) requires a timely motion by a

 movant who claims an interest relating to the property or transaction that is the subject of the

 action, and is so situated that disposing of the action may as a practical matter impair or impede

 the movant’s ability to protect its interest, unless existing parties adequately represent that

 interest.

         The movant must establish all elements of the four-part test, requiring: (1) that the motion

 was filed timely; (2) that a substantial legal interest is involved; (3) that an interest will be

 impaired without intervention; and (4) inadequate representation by the current parties.

 Michigan State AFL–CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir.1997) (citing Cuyahoga Valley

 Ry. Co. v. Tracy, 6 F.3d 389, 395 (6th Cir.1993)). Failure to satisfy any one of the elements will

 defeat intervention. Blount-Hill, 636 F.3d at 283. The Movant fails to meet the first, second,

 third, and fourth elements of the applicable test.

                          1.      The Motion to Intervene is Untimely In This Matter.

         The Sixth Circuit has identified five (5) factors to determine whether a motion to

 intervene is timely:

                (1) the point to which the suit has progressed; (2) the purpose for which
                intervention is sought; (3) the length of time preceding the application during
                which the proposed intervenor knew or reasonably should have known of his
                interest in the case; (4) the prejudice to the original parties due to the
                intervenor’s failure, after he or she knew or reasonably should have known of
                his or her interest in the case, to apply promptly for intervention; and (5) the
                existence of unusual circumstances militating against or in favor of
                intervention.

 Blount-Hill, 636 F.3d at 284 (citing Grubbs v. Norris, 870 F.2d 343, 345 (6th Cir.1989); Stupak–

 Thrall v. Glickman, 226 F.3d 467, 473 (6th Cir.2000)).

         This case has progressed too far for Erie to intervene now.             Erie’s motion comes




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 approximately eight and a half (8.5) months after the Plaintiff filed her Complaint. Erie does not

 explain its delay in waiting 8.5 months to seek intervention and instead focuses its timeliness

 argument on the status of the litigation asserting “[t]his lawsuit is in its early stages.” See Mot.

 to Intervene at 12 (ECF No. 168.).               Contrary to Erie’s contention that “[t]he parties have

 conducted little to no discovery[,]” the Plaintiff has served all Defendants with interrogatories

 and requests for production, received a variety of responses, and various Defendants have been

 serving the Plaintiff with discovery. 2

          Additionally, the Court has also already ruled on motions to dismiss and other requests

 for intervention and the Defendants have answered the Complaint. Accordingly, the Plaintiff

 respectfully submits the Court should deny Erie’s motion as untimely. See J4 Promotions, Inc.

 v. Splash Dogs, LLC, No. 2:09-CV-136, 2010 WL 1839036, at *3 (S.D. Ohio May 3, 2010)

 (finding motion to intervene not timely when filed three and a half months after complaint where

 there was risk of delay or prejudice to the original parties).

                            2.       Erie Does Not Have a Substantial Legal Interest In This
                                     Matter.

          Erie has no direct substantial legal interest as required by the Sixth Circuit. See e.g.,

 Konica Minolta Bus. Sols. U.S.A., Inc. v. Lowery Corp., No. 15-11254, 2018 U.S. Dist. LEXIS

 81618, *10 (E.D. Mich. Apr. 23, 2018) (citing Adams v. Ohio Univ., No. 2:17-CV-200, 2017

 U.S. Dist. LEXIS 170674 (S.D. Ohio Oct. 16, 2017) and Cascade Nat. Gas Corp. v. El Paso Nat.

 Gas Co., 386 U.S. 129, 154 (1967)). “Whether an insurer of an existing party has a direct

 interest in the litigation depends on if the insurer admits that the claim at issue is covered.” Id.

 Put another way, the interest possessed by an insurer seeking to intervene is contingent, not

 2
           Erie also argues errantly that “the next deadline under this Court’s case management order is not until April
 10, 2019” a date which has already passed. See Mot. to Intervene at 14 (ECF No. 168.). Erie also makes the now
 stale assertion that the Court had not ruled on the pending motions for intevention. Id. As stated supra the Court
 has denied the other pending motions to intervene. (ECF No. 171.)



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 direct – and thus, is also not “substantial.” Id. (citing Travelers Indem. Co. v. Dingwell, 884 F.2d

 629, 640 (1st Cir. 1989) (finding that the insurer’s interest was contingent on the resolution of

 the coverage issue)).

          Erie’s legal interest in this case is similarly contingent and therefore not substantial. Erie

 acknowledges as much in its rquest for intervention, stating, “Erie seeks this Court’s guidance

 regarding its coverage obligations, if any[.]” See Mot. to Intervene at 16 (ECF No. 168.). Erie’s

 interest is clearly in the contingency, not the substance. 3 Therefore, the Court should deny Erie’s

 motion to intervene.          See Siding & Insulation Co. v. Beachwood Hair Clinic, Inc., No.

 1:11CV1074, 2012 U.S. Dist. LEXIS 25081 * 4-6, 2012 WL 645996 (N.D. Ohio Feb. 28, 2012)

 (holding the insurer’s interest was not direct because it was limited to how much the insurer

 would have to pay, which in turn was entirely contingent on future events – i.e., the plaintiff’s

 success, and a determination of the insurer’s duties under the policy).

                             3.       Erie’s Ability To Protect Its Interests Will Not Be Impaired
                                      By Its Absence.

          Erie’s ability to protect its interests will not be impaired without intervention. An insurer

 does not claim the kind of interest contemplated under this element. See Travelers, 884 F.2d at

 638; see also Fed. R. Civ. P. 24(a)(2). In short, the assertion that coverage might not exist is not

 properly considered part of the subject of an action which goes to liability. See Konica Minolta

 Bus. Sols, 2018 U.S. Dist. LEXIS 81619, *10 (relying on Travelers, 884 F.2d at 640, and finding

 the insurer’s interest is derivative for purposes of Rule 24(a)). To permit intervention where

 coverage is in dispute would allow an insurer to “interfere with and in effect control the

 defense.” Travelers, at 639.


 3
          In an attempt to support its substantial interest, Erie also mistakenly argues that the Plaintiff is proceeding
 in this matter pursuant to an “anonymous status.” See Mot. to Intervene at 17 (ECF No. 168.). The Plaintiff is not
 proceeding anonymously in this matter, she is proceeding pseudonymously. See ECF No. 60.



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        Erie cites Howell v. Richardson, 45 Ohio St.3d 365, 544 N.E.2d 878 (1989) and Gehm v.

 Timberline Post & Frame, 112 Ohio St. 3d 514, 2007-Ohio-607, 861 N.E. 2d 519 (2007) to

 support its position. See Mot. to Intervene at 13 (ECF No. 168.). But Gehm and Howell

 actually support the denial of Erie’s request for intervention under the circumstances

 presented here. The Howell and Gehm cases make clear that where an insurer has sought to

 intervene and been denied, collateral estoppel will not prevent it from separately seeking to

 protect its interests through an action for declaratory relief. See Gehm, 861 N.E. 2d at 519

 (citing Howell and holding that “[w]hen a party has sought and been denied intervention,

 collateral estoppel will not prohibit future litigation of similar issues.”). Thus, Erie does not need

 to intervene in this lawsuit in order to protect its interests. Accordingly, the Court should deny

 Erie’s motion to intervene.

                4.      The Current Parties Are Adequately Represented

        The current Parties are adequately represented in this matter and Erie’s statement to the

 contrary in its moving papers is conclusory at best. See Mot. to Intervene at 17 (ECF No. 168.).

 Defendant Buckeye Hospitality is represented by counsel in this case and its counsel has

 represented its interests from the outset of this matter.        Furthermore, Defendant Buckeye

 Hospitality does business as the Comfort Inn North Conference Center which is one of

 Defendant Choice Hotels International, Inc.’s (“Choice”) branded properties. Defendant Choice

 is also represented by counsel in this action and its counsel has represented its interests from the

 inception of this litigation. The Plaintiff is represented by the undersigned counsel and counsel

 for the Plaintiff, Choice, and Buckeye Hospitality have actively and adversarially (but

 professionally) litigated a number of difficult issues in this cas. Contrary to Erie’s contention

 that “[i]t is possible that M.A. along with Buckeye Hospitality and/or Choice Hotels may direct




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 the lawsuit in a manner designed to trigger insurance coverage[,]” the reality is that M.A. is not

 working “along with” Buckeye Hospitality or Choice on any issue of liability, much less

 coverage. See Mot. to Intervene at 17 (ECF No. 168.). As such, the Court’s docket reflects hard

 fought adversarial positions by Parties who are well represented.

         B.     Erie Cannot Establish Grounds For Permissive Intervention

         As stated supra, Erie’s Motion to Intervene is untimely and therefore should be denied on

 that basis alone. Assuming timeliness, arguendo, Erie’s motion still fails because no common

 questions of law or fact exist sufficient to warrant permissive intervention.

         “Even a timely application for permissive intervention should be denied where the

 intervenor has not established that a common question of law or fact exists between [its]

 proposed claim and the claim of one or more of the existing parties.” Comtide Holdings, LLC v.

 Booth Creek Mgt. Corp., No. 2:07-cv-1190, 2010 WL 2670853, at *3 (S.D. Ohio June 29, 2010).

 Simply put, Erie’s dispute related to insurance coverage does not share common questions of law

 or fact with this lawsuit which relates to the human suffering caused by sex trafficking. Erie’s

 dispute with Defendants Buckeye Hospitality and Choice is a contract dispute and this

 prospective business dispute is wholly unrelated to this human rights matter and the Court should

 therefore deny Erie’s motion.

                                          CONCLUSION

         Erie has failed to meet its burden to establish a a basis for intervention either by right or

 permissively. Accordingly, this Honorable Court should deny the Movant’s request to intervene

 and enter an Order denying the Motion To Intervene filed by Erie Insurance Exchange (ECF No.

 168).

          Done this the 23rd day of December 2019.




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                                             Respectfully submitted,

                                             /s/ Steven C. Babin, Jr.
                                             Steven C. Babin, Jr.
                                             (0093584) Babin Law, LLC
                                             1320 Dublin Road, #100
                                             Columbus, Ohio 43215
                                             T: (614) 384-7035
                                             E: steven.babin@babinlaws.com
 OF COUNSEL:
 Kimberly L. Adams (Fla. State Bar. No.: 0014479) admitted via pro hac vice
 LEVIN, PAPANTONIO, THOMAS,
 MITCHELL, RAFFERTY & PROCTOR, P.A.
 316 S. Baylen Street, Suite 600
 Pensacola, Florida 32502-5996
 T: 850.435.7056
 F: 850.436.6056
 E: kadams@levinlaw.com

 Gregory M. Zarzaur (Ala. State Bar No.: ASB-0759-E45Z) admitted via pro hac vice
 Anil A. Mujumdar (Ala. State Bar. No.: ASB-2004-L65M) admitted via pro hac vice
 ZARZAUR
 2332 Second Avenue North
 Birmingham, Alabama 35203
 T: 205.983.7985
 F: 888.505.0523
 E: gregory@zarzaur.com / anil@zarzaur.com

 Attorneys for the Plaintiff




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on December 23rd, 2019, I electronically filed the

 foregoing Response in Opposition to Erie’s Motion to Intervene with the Clerk of the Court

 using the CM/ECF system, which will send notification of such filing to all counsel of record.

 Gregory Paul Barwell
 Jessica A. Barwell
 Jud R. Mauger
 WESP/BARWELL, LLC
 100 East Broad Street
 Suite 2350
 Columbus, Ohio 43215
 T: 614.456.0488
 F: 614.456.0488
 E: gbarwell@wesplaw.com / jbarwell@columbushospitality.com / jmauger@wesplaw.com
 Attorneys for Defendant Columbus Hospitality, LLC

 Quintin F. Lindsmith
 Ali I. Haque
 BRICKER & ECKLER LLP
 100 South Third Street
 Columbus, Ohio 43215-4291
 T: 614.227.2300
 F: 614.227.2390
 E: qlindsmith@bricker.com / ahaque@bricker.com
 Attorneys for Defendant Columbus Hospitality, LLC

 Chenee M. Castruita
 Douglas Paul Holthus
 MAZANEC, RASKIN & RYDER CO., LPA
 175 South Third Street
 Suite 1000
 Columbus, Ohio 43215
 T: 614.228.5931
 F: 614.228.5934
 E: ccastruita@mrrlaw.com / dholthus@mrrlaw.com
 Attorneys for Defendant S&S Airport Motel, LLC




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 Daniel T. Downey
 Paul M. Bernhart
 FISHEL DOWNEY ALBRECHT & RIEPENHOFF LLP
 7775 Walton Parkway, Suite 200
 New Albany, Ohio 43054
 T: 614.221.1216
 F: 614.221.8769
 E: ddowney@fisheldowney.com / pbernhart@fisheldowney.com
 Attorneys for Defendant Buckeye Hospitality, Inc.

 Joshua James Fravel
 GRIFFITH LAW OFFICES
 522 North State Street
 Westerville, Ohio 43082
 T: 614.890.4543
 F: 614.426.1114
 E: josh.f@griffithlaw.org
 Attorney for Defendant Buckeye Hospitality, Inc.

 Michael R. Reed
 Elisé K. Yarnell
 HAHN LOESER PARKS LLP
 65 East State Street, Suite 1400
 Columbus, Ohio 43215
 T: 614.233.5165
 F: 614.233.5184
 E: mreed@hahnlaw.com / eyarnell@hahnlaw.com
 Attorney for Defendant Wyndham Hotels & Resorts, Inc.

 Jennifer Snyder Heis
 Alyson A. Terrell
 ULMER & BERNE LLP
 600 Vine Street
 Suite 2800
 Cincinnati, Ohio 45202
 T: 513.698.5058
 F: 513.698.5059
 E: jheis@ulmer.com / aterrell@ulmer.com
 Attorneys for Defendant Choice Hotels International, Inc.




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 Sara M. Turner
 BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
 Wells Fargo Tower
 420 20th Street North, Suite 1400
 Birmingham, Alabama 35203
 T: 205.250.8316
 F: 205.488.3716
 E: smturner@bakerdonelson.com
 Attorney for Defendant Choice Hotels International, Inc.

 Kevin C. Connell
 BRUNS, CONNELL, VOLLMAR & ARMSTRONG
 40 North Main Street
 Suite 2010
 Dayton, Ohio 45423
 T: 937.999.6212
 F: 937.999.6212
 E: kconnell@bcvalaw.com
 Attorney for Defendant Choice Hotels International, Inc.

 Samuel Neal Lillard
 Mathew A. Parker
 FISHER & PHILLIPS, LLC
 250 West Street, Suite 400
 Columbus, Ohio 43215
 T: 614.453.7612
 F: 614.221.1409
 E: slillard@fisherphillips.com / mparker@fisherphillips.com
 Attorneys for Defendant Krrish Lodging, LLC

 Joseph L. Piccin
 JOSEPH L. PICCIN CO., LLC
 3010 Hayden Road
 Columbus, Ohio 43235
 T: 614.659.9616
 F: 614.798.1935
 E: JLP@joepiccin.com
 Attorney for Defendant First Hotel Management, LLC




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 Steven D. Strang
 Steven A. Keslar
 GALLAGHER SHARP LLP
 35 North Fourth Street, Suite 200
 Columbus, Ohio 43215
 T: 614.340.2304
 F: 614.340.2301
 E: sstrang@gallaghersharp.com / skeslar@gallaghersharp.com
 Attorneys for Defendant First Hotel Management, LLC

 Patrick Kasson
 REMINGER CO., L.P.A.
 200 Civic Center Drive, Suite 800
 Columbus, Ohio 43215
 T: 614.228.1311
 F: 614.232.2410
 E: pkasson@reminger.com
 Attorney for Defendant Inter-Continental Hotels Corp.

 Jennifer K. Nordstrom
 GARVEY SHEARER NORDSTROM, PSC
 2400 Chamber Center Drive
 Suite 210
 Ft. Mitchell, Kentucky 41017
 T: 513.445.3373
 F: 866.675.3676
 E: jnordstrom@garveyshearer.com
 Attorney for Defendant Inter-Continental Hotels, Corp.

 David S. Sager (admitted pro hac vice)
 DLA PIPER
 51 John F. Kennedy Parkway
 Suite 120
 Short Hills, New Jersey 07078
 T: 973.520.2570
 F: 973.520.2550
 E: david.sager@dlapiper.com
 Attorney for Defendant Wyndham Hotels and Resorts, Inc.




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 Christopher B. Donovan (admitted pro hac vice)
 DLA PIPER
 1000 Louisiana Street, Suite 2800
 Houston, Texas 77002
 T: 713.425.8449
 F: 713.300.6040
 E: christopher.b.donovan@dlapiper.com
 Attorney for Defendant Wyndham Hotels & Resorts, Inc.

 Bartholomew T. Freeze
 Gordon D. Arnold
 FREUND, FREEZE & ARNOLD
 Capitol Square Office Building
 65 East State Street, Suite 800
 Columbus, OH 43215
 T: 614.827.7300
 F: 614.827.7303
 E: garnold@ffalaw.com / bfreeze@ffalaw.com
 Counsel for Defendant Erie Insurance Exchange


                                                  /s/ Steven C. Babin, Jr.
                                                  OF COUNSEL




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